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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              ABERDEEN DIVISION

THE CHIROPRACTIC NEUROLOGY CENTER
OF TUPELO; CHIROPRACTIC NEUROLOGY
CONSULTANT PC d/b/a AMERICAN FUNCTIONAL
NEUROLOGY INSTITUTE; DR. WILLIAM A. BARLOW, D.C. ;
and DR. MATTHEW C. MACKEY, D.C.                                                   PLAINTIFFS

V.                                                       CAUSE NO. 1:15 CV 219-GHD-DAS

DR. MICHAEL JOHNSON, D.C. ; DR. MICHAEL JOHNSON
d/b/a THE CENTER FOR QUALITY HEALTHCARE;
DR. MICHAEL JOHNSON d/b/a JOHNSON METHOD
CONSULTING; JOHN DOE ENTITIES 1-10;
and JOHN DOES 1-10                                                             DEFENDANTS




      PLAINTIFFS’ DAUBERT MOTION TO EXCLUDE EXPERT TESTIMONY OF
                           BRENDAN O’CONNER



        COMES NOW, the Plaintiffs, The Chiropractic Neurology Center of Tupelo,

Chiropractic Neurology Consultant PC d/b/a American Functional Neurology Institute, Dr.

William A. Barlow, D.C., and Dr. Matthew C. Mackey, D.C by and through counsel and files

this Daubert Motion and Motion to Strike Expert Testimony, or in the Alternative, Limit the

Expert Testimony of Brendan O’Connor and Request for Daubert Hearing (“Motion”). As

grounds for this Motion, Plaintiff would respectfully show unto the Court the following:

        1.    Defendants have disclosed the supposed expert testimony of Brendan O’Connor.

Although Plaintiffs do not object to some of his report, a good portion of it does not tie to the

facts in this case and does not consider alternative theories. Those opinions O’Connor intends to

render as an “expert” do not meet the minimum standards for expert testimony under the Federal
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Rules of Evidence. O’Connor has failed to consider the Defendant’s sworn testimony that he

took the passwords and usernames of his own electronic bulletin board without authorization to

access Plaintiff Barlow’s electronic bulletin board and he has failed to consider the possibility

that the users of his bulletin board did not self-enroll.

        2.      Further, Plaintiffs have been prevented from asking Defendant Johnson about

how he gathered passwords because he has raised the Fifth Amendment. Without further

questioning on that issue, O’Connor’s opinion cannot be reconciled with Johnson’s facts.

        3.      The factual basis for the opinion is fatally unsound, and does not meet the

minimum standards for admission of expert testimony under Rule 702 in that: it will not assist

the trier of act; it is not based on sufficient facts or data; it is not the product of reliable principles

and methods; and he has not reliably applied any such principles or methods to the facts of the

case.

        4.      Pursuant to Evidence Rules 401, 403, 602, 701, 702, 703, 801, and 802 and for all

the reasons set forth in the Memorandum in support of this Motion, Plaintiffs move the Court to

exclude or in the alternative, limit the testimony and “expert” opinions of Brendon O’Connor.

        5.      Plaintiffs requests a Daubert hearing as to the “expert” testimony of Brendan

O’Connor so that the Court can observe Defendant’s designated expert and independently assess

the reliability of his proffered testimony.

        6.      Plaintiffs also request an evidentiary hearing at which Defendant Mike Johnson

will be permitted to explain his prior testimony regarding borrowing the user names and

passwords of others to access Dr. Barlow’s message board.
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         7.     Pursuant to Evidence Rules 401, 403, 602, 701, 702, 703, 801 and 802 and for all

the reasons set forth in the Memorandum in support of this Motion, Plaintiff moves the Court to

exclude, or in the alternative, limit the testimony and expert opinions of Brendan O’Connor.

         8.     In support of this Motion, Plaintiffs rely upon their supporting brief; the pleadings

filed in this lawsuit; and the following exhibits:

     -     Exhibit A – Deposition of Defendant Dr. Michael Johnson (relevant excerpts)
     -     Exhibit B – Deposition of Chris Steiner (relevant excerpts)
     -     Exhibit C – Affidavit of Attorney Kurt Goehre
     -     Exhibit D – Expert Opinion by Ted Scott
     -     Exhibit E – Deposition of Dr. Michael Johnson; Johnson Chiropractic Neurology v.
                       Steiner, Case No. 16-SC-170, Circuit Court of Brown County, Wisconsin
     -     Exhibit F – Expert Opinion of Brendan O’Conner
     -     Exhibit G – Affidavit of Ted Scott
     -     Exhibit H – Deposition of Emily Neils (relevant excerpts)
     -     Exhibit I – Defendants’ Responses to Plaintiffs’ Second Set of Requests for Admission

    WHEREFORE, PREMISES CONSIDERED, Plaintiffs, for the reasons set forth herein and

    in the Memorandum in support of this Motion, requests that the Court enter its Order

    excluding or limiting the proposed expert testimony of Brendan O’Connor and for all other

    relief the Court deems appropriate.


         Respectfully submitted, this the 31st day of May, 2017.

                                          THE CHIROPRACTIC NEUROLOGY CENTER
                                          OF TUPELO; CHIROPRACTIC NEUROLOGY
                                          CONSULTANT PC d/b/a AMERICAN FUNCTIONAL
                                          NEUROLOGY INSTITUTE; DR. WILLIAM A.
                                          BARLOW; and DR. MATTHEW C. MACKEY


                                        By:_/s/ William R. Wheeler, Jr.______________
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                                           JAMES R. FRANKS, JR., MSBN 100156
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                               CERTIFICATE OF SERVICE

       I, William R. Wheeler, Jr., one of the attorneys of record for the Plaintiffs, do hereby

certify that I have served a true and correct copy of the above and foregoing Plaintiffs’ Daubert

Motion to the following:


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       Dated, this the 31st day of May, 2017.

                                                    __/s/ William R. Wheeler, Jr.
                                                    WILLIAM R. WHEELER, JR.
